  Case: 1:22-cr-00015 Document #: 114 Filed: 01/17/24 Page 1 of 2 PageID #:2617




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                        EASTERN DIVISION

UNITED STATES OF AMERICA
                                         No. 22 CR 15
             v.
                                         Judge Manish S. Shah
DAVID SARGENT

                           NOTICE OF APPEAL

      Notice is hereby given that the UNITED STATES OF AMERICA appeals

to the United States Court of Appeals for the Seventh Circuit from this Court’s

order dated December 20, 2023, granting defendant David Sargent’s post-trial

motions for acquittal and for a new trial and entering a judgment of acquittal

as to defendant, entered on the docket on December 20, 2023.

                                     Respectfully submitted,

                                     MORRIS PASQUAL
                                     Acting United States Attorney

                                     /s/ Vikas Didwania
                                     MATTHEW GETTER
                                     VIKAS DIDWANIA
                                     Assistant U.S. Attorneys
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                                     Chicago, Illinois 60604
                                     (312) 353-5300


Date: January 17, 2024
  Case: 1:22-cr-00015 Document #: 114 Filed: 01/17/24 Page 2 of 2 PageID #:2618




                       CERTIFICATE OF SERVICE

      The undersigned Assistant United States Attorneys hereby certify that

in accordance with Fed. R. Crim. P. 49, Fed. R. Civ. P. 5, LR 5.5, and the

General Order on Electronic Case Filing (“ECF”), the government’s Notice of

Appeal was served, pursuant to the district court’s ECF system, to opposing

counsel of record.


                              By:    /s/ Vikas Didwania
                                     MATTHEW GETTER
                                     VIKAS DIDWANIA
                                     Assistant U.S. Attorney
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Date: January 17, 2024
